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 1                           UNITED STATES DISTRICT COURT
 2                          CENTRAL DISTRICT OF CALIFORNIA
 3                                  WESTERN DIVISION
 4   MICHAEL SHERLOCK, AN                          Case No. 2:22-cv-00426-SVW-AFM
     INDIVIDUAL,
 5                                                 ORDER GRANTING JOINT
                     Plaintiff,                    STIPULATION AND REQUEST
 6                                                 TO CONTINUE TRIAL AND
           v.                                      RELATED PRE-TRIAL DATES
 7
     THE GOODYEAR TIRE & RUBBER
 8   COMPANY, a California Corporation
     and DOES 1-20, inclusive ,
 9
                     Defendant.
10
11
12                                         ORDER
13        Pursuant to the Stipulation of the parties, and good cause appearing, IT IS
14 HEREBY ORDERED that:
15           1. The trial date in this matter, currently scheduled for June 14, 2022, is
16              continued for approximately 30 days to July 19, 2022 (Tuesday).
17           2. The final status conference in this matter, currently scheduled for June 6,
18              2022, shall be continued to July 11, 2022.
19           3. All corresponding pre-trial dates and deadlines, including, but not limited
20              to, expert discovery deadlines, non-expert discovery deadlines and motion
21              deadlines (including for discovery motions and dispositive motions, such
22              as motions for summary judgment and partial summary judgment),
23              whether set automatically by statute or specifically by the Court, shall run
24              from the new trial date.
25           4. There will be no further continuances.
26   IT IS SO ORDERED.
27
     Dated: April 6, 2022                         ________________________________
28
                                                  Hon. Stephen V. Wilson
